                Case 23-11131-TMH               Doc 273        Filed 09/14/23        Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131

                                    Debtors.1                           (Jointly Administered)
                                                                        Related Docket No. 19, 54, 236, 238

         AMENDED DECLARATION OF STEVEN FLEMING IN SUPPORT OF
             REPLY OF THE DEBTORS IN SUPPORT OF FINAL ORDER
     (I) AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION FINANCING
       AND (B) TO UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE
    PROTECTION TO PREPETITION SECURED PARTIES, (III) MODIFYING THE
            AUTOMATIC STAY, AND (IV) GRANTING RELATED RELIEF

         Pursuant to 28 U.S.C. § 1746, I, Steven Fleming, hereby declare, under penalty of perjury

to the best of my knowledge and belief, that:

         1.       In conjunction with the Chapter 11 Cases of Amyris, Inc. (“Amyris”) and its

affiliated and related above-captioned debtors and debtors in possession (collectively, the

“Debtors” or the “Company”), I submit this declaration (the “Declaration”) in support of the Reply

of the Debtors in Support of Final Order (I) Authorizing Debtors (A) to Obtain Postpetition

Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition

Secured Parties, (III) Modifying the Automatic Stay and (IV) Granting Related Relief (the

“Reply”) filed contemporaneously with this Declaration. Except as otherwise indicated, the facts

set forth in this Declaration are based upon my personal knowledge, my review of relevant

documents, and information provided to me by the Debtors and their professionals, including,

professionals working at my direction at PwC US Business Advisory LLP (“PwC”). If called upon


1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal place of
business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville, CA
94608.



DOCS_SF:109506.3 03703/004
                Case 23-11131-TMH         Doc 273     Filed 09/14/23      Page 2 of 5




to testify, I would testify competently to the facts set forth in this Declaration. I am authorized to

submit this Declaration on behalf of the Debtors.

         2.       I am a Principal of PwC, an experienced, leading, full-service financial services,

consulting, and accounting firm with over 79 offices and more than 50,000 employees in the

United States. I am the leader of the firm’s US Business Recovery Services Practice, a position

that I’ve held since 2016 after being a senior member in the group for seven years. Prior to these

positions, I held a senior position in PwC’s Transaction Services practice in Dubai, UAE, where I

was responsible for expanding the firm’s Corporate Finance and Valuation practices across the

Middle East and North Africa. I have been employed by PwC (and its predecessor entities) since

August 1998, and have held other senior positions, both domestically and abroad.

                                   GENERAL BACKGROUND

         3.       Amyris was founded in 2003 to create a more stable supply of a key anti-malarial

treatment. Through Amyris’s cutting-edge science, artemisinin—the most effective anti-malarial

drug in the world—is now consistently available to treat the deadly disease. Using the same

technological innovations that produced artemisinin, Amyris has become the world’s leading

manufacturer of ingredients made with synthetic biology. Amyris provides sustainable ingredients

that are eco-friendly alternatives to raw material sourced for flavors and fragrances, sweeteners,

cosmetics, pharmaceuticals, and other consumer products.

         4.       In addition, Amyris also has developed and launched a family of clean beauty

brands that utilize the natural and sustainable ingredients that Amyris produces. The Company

sells these clean beauty products through direct-to-consumer e-commerce platforms and a network

of retail partners, including Sephora, Target, and Walmart.




DOCS_SF:109506.3 03703/004                        2
                Case 23-11131-TMH          Doc 273     Filed 09/14/23     Page 3 of 5




                             AMYRIS’S RELATIONSHIP WITH LAVVAN

         5.       On March 19, 2019, Amyris and Lavvan executed the Research, Collaboration, and

Licensing Agreement (“RCLA”). Through the RCLA, the parties intended to work together to

research, develop, produce, and commercialize cannabinoids. Amyris would contribute its R&D

expertise and Lavvan would provide the funding and – once the synthetic cannabinoids were

developed – would be responsible for their manufacture and commercialization. No other Debtors

were parties to the RCLA. Ultimately, Lavvan paid only $10 million to Amyris for purposes of

the costly R&D investments required under the RCLA.

         6.       Lavvan asserts that, “[i]n accordance with the requirements of the RCLA, Lavvan

and Amyris also entered into that certain Security Agreement, dated as of May 2, 2019 (the

“Security Agreement”), wherein Amyris granted Lavvan a security interest in substantially all of

the Debtors’ intellectual property.” See Lavvan Limited Objection at ¶ 6 (emphasis added).

         7.       It is my business understanding that Lavvan’s purported security interest is solely

against certain specified intellectual property assets of Debtor Amyris, Inc., which do not

constitute substantially all of the assets of the Debtors. As was set forth in detail in the First Day

Declaration and outlined at the first day hearing in these cases, the Debtors’ most valuable brand

assets – including consumer brands such as Biossance and JVN Hair - are held by Debtor Amyris

Clean Beauty, Inc. Further, it is my business understanding that the Debtors’ manufacturing

assets, including a pilot plant and a separate manufacturing facility, both located in Brazil, are

owned by non-Debtor subsidiaries of Amyris against which Lavvan has no claims or liens.

         8.       Specifically, it is my business understanding that Lavvan does not have a security

interest in:

        Any intellectual property that was not in existence as of May 2019;




DOCS_SF:109506.3 03703/004                         3
                Case 23-11131-TMH          Doc 273     Filed 09/14/23      Page 4 of 5




        Amyris’s real property associated with the Debtors’ manufacturing facility located in

         Leland, North Carolina;

        Amyris’s 69% equity interest in Real Sweet, LLC, the entity that is the indirect owner of

         the Barra Bonita fermentation plant in Brazil;

        Amyris’ equity interest in Amyris Biotechnologia Do Brasil Ltda., the entity that owns the

         Campinas pilot plant in Brazil;

        Amyris’s indirect equity interest in Interfaces Industria e Comércio de Cosmeticos Ltda.,

         the entity that owns the Debtors’ manufacturing plant that assembles consumer products

         in Brazil; and

        Any assets of Amyris Clean Beauty, Inc., which include the assets associated with the

         brands: 4U by Tia; Biossance; Costa Brazil; JVN; Menolabs; Pipette; Stripes and Terasana

         9.       Lavvan, Amyris, and Foris Ventures, LLC (“Foris”) entered into that certain

Subordination Agreement, dated as of May 2, 2019 (the “Subordination Agreement”), wherein

Lavvan agreed to subordinate its security interest in the IP Collateral to liens Foris held, as

successor in interest, in certain assets of Amyris pursuant to that certain Loan and Security

Agreement, dated as of June 29, 2018 (the “2018 Foris Loan”). I am informed that Foris submits

that, by virtue of the Subordination Agreement, Lavvan agreed to subordinate its claims to all of

Foris’s loans to the Debtors. I have reviewed the Debtors’ books and records and they reflect that

the 2018 Foris Loan remains unpaid in the amount of at least $63.5 million as of the Petition Date.

         10.      Based on the Debtors’ books and records, as of the Petition Date, the Debtors had

the following loans outstanding to Foris as set forth in the chart below (in $ millions), secured by

substantially all of the Debtors’ assets, subject to certain exclusions.




DOCS_SF:109506.3 03703/004                        4
                Case 23-11131-TMH        Doc 273       Filed 09/14/23   Page 5 of 5



                                                                        Accrued &       Total
                                                                         Unpaid       Principal
                                                             Total       Interest     & Interest
   Foris                                                   Principal       as of        as of
 Secured                       Orig.     Capitalized         as of       Petition      Petition
   Claim                     Principal    Interest         6/30/2023       Date          Date


 2018 Foris Loan               50.0           -              50.0            13.5       63.5

 2022 Foris Loan               80.0          5.6             85.6            0.7        86.2

 2023 Muirisc Loan             20.0          0.0             20.0            0.0        20.1

 2023 Anjo Loan                50.0          0.0             50.0            0.7        50.7

 2023 Anesma Loan              50.0          0.3             50.3            0.7        51.0

 Perrara Bridge Loan           37.5          2.6             40.1            0.5        40.6

 Total Foris                  287.5          8.5             296.0           16.1       312.1



         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that, to the best of my

knowledge and after reasonable inquiry, the foregoing is true and correct.

Dated: September 14, 2023
                                                       /s/ Steven Fleming
                                                       Steven Fleming
                                                       Principal
                                                       PwC US Business Advisory LLP




DOCS_SF:109506.3 03703/004                         5
